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USDA
OLA

United States

Department of Mr. Corey Lea
Agriculture Cowtown Foundation
Office of the PO Box 422

Assistant Secretary Arrington, TN 14
for Civil Rights gton, 370 .
cowtownfoundation@gmail.com

1400 independence

Avenue SW Dear Mr. Lea,
Washington, DC
20250 Thank you for your May 6, 2021 email correspondence to Dr. Dewayne Goldmon,

Senior Advisor for Racial Equity to the Secretary of Agriculture. I have been asked
and am pleased for the opportunity to respond to your correspondence.

In your message, you indicate that you would like your case resolved immediately.
A review of our records indicates that you have no open or active discrimination
complaints on file with the USDA, Office of the Assistant Secretary for Civil
Rights. The last administrative complaint you filed (#2014-COR-01906) was
related to your 2014 foreclosure and was closed for lack of jurisdiction on January
7, 2014.

We also were notified that you recently filed an appeal of the District Court of the
Middle District of Alabama on March 4, 2021 for their dismissal of your complaint
against USDA. USDA is unable to pursue any discussion of litigation pending in
Federal Court without the involvement of the U.S. Department of Justice, which
represents the Government. Please contact the designated representative at the
Department of Justice for any questions or issues associated with this litigation.

Thank you for your inquiry and hope you find this information useful.

Sincerely,

. Digitally signed by
Monica Monica Armster Rainge

i Date: 2021.05.17
Armster Rainge 14:22:42 -04'00'

Monica Armster Rainge
Deputy Assistant Secretary for Civil Rights
Office of the Assistant Secretary for Civil Rights

cc: Dr. Dewayne Goldmon, Senior Advisor, Racial Equity

USDA IS AN EQUAL OPPORTUNITY PROVIDER, EMPLOYER AND LENDER

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